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                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA
In re:

                                                 Case No. 19-00508
Audrey Moran
                                                 Chapter 7

                                   Debtor.

   ORDER AUTHORIZING TRUSTEE TO EMPLOY REAL ESTATE BROKER AND LOCAL
                            LISTING AGENT

        Upon the annexed Application of Kevin Campbell, Trustee herein, for the authority
to employ BK Global Real Estate Services (“BKRES”) whose address is 1095 Broken Sound
Parkway, N.W., Suite 100, Boca Raton, FL 33487 and telephone number is (561) 206-0067
to represent him as a Real Estate Broker; and EXP REALTY whose address is 400 Townline
Rd., Ste 145, Hauppauge, NY 11788 and telephone number is (631)278-6987 to represent
him as the Local Listing Agent, it is,

        ORDERED, ADJUDGED AND DECREED that the Trustee be, and hereby is, authorized
to employ for the purpose described in the Application. The rate or amount of
compensation of the Real Estate Broker is fixed at no more than Six (6%) percent of the
selling price as real estate commission on residential property to be paid upon closing of
the transaction. BKRES will pay EXP REALTY from its 6% commission. The compensation
of the Real Estate Broker and Local Listing Agent is subject to review and adjustment as
provided for in 11 U.S.C. §330(a).

         IT IS ORDERED.
 FILED BY THE COURT
     04/18/2019




                                               David R. Duncan
                                               Chief US Bankruptcy Judge
                                               District of South Carolina


   Entered: 04/19/2019
